       Case 9:16-bk-06499-FMD         Doc 116     Filed 05/18/18     Page 1 of 1




               IN THE UNITED STATES BANKRUPTCY COURT
            MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION


In Re:
CHRIS E. CARHART
                                            Case No. 9:16-bk-06499-FMD
            Debtor
_____________________________/

                                 PROOF OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the Order Granting Motion
to Sell Property Free and Clear of Purported Liens and Interests has been furnished via
electronic service by the Court and by regular U.S. Mail to Chris E. Carhart, 621 Seaview
Ct., P2, Marco Island, FL 34145 this 18th day of May 2018.


                                            /s/ Robert E. Tardif Jr.
                                            Robert E. Tardif, Jr., Trustee
                                            P.O. Box 2140
                                            Ft. Myers, FL 33902
                                            239/362-2755
                                            rtardif@comcast.net
